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                            UNITED STATES DISTRICT COURT

                           SOUTHERN DISTRICT OF GEORGIA                              14 3j       2



                                   STATESBORO DIVISION



UNITED STATES OF AMERICA                      )
                                              )
                                              )
                                              )
CHRISTIAN J. NAVOY                            )       INDICTMENT NO. CR608-00015
JENNIFER LYN NAVOY

                                      AMENDED ORDER

       On January 9, 2009, Defendants filed a Joint Motion for Reconsideration of Joint Motion to

Modify Condition of Pretrial Release. The Court has examined the Motion for Reconsideration and

has consulted with members of the United States Probation Office regarding the merits of the

Motion.

       Based on the foregoing, the Court hereby GRANTS Defendants' motion. Defendants'

conditions of pretrial release are hereby modified to allow them to reside and travel within the

Southern District of Florida. The Court acknowledges that this will require transfer of Defendants'

pretrial supervision to the Southern District of Florida. All other conditions of bond as originally

set remain the same.

       SO OJthERED, this / day of January, 2009.




                                                      United States Distrjit Judge
                                                      For the Southern Fistrict of Georgia
